                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

In re:                                                     Case No. 13-53846

CITY OF DETROIT, MICHIGAN,                                 Chapter 9

            Debtor.                                        Judge Thomas J. Tucker
_________________________________/

            ORDER SUSTAINING THE CITY OF DETROIT’S OBJECTION
               TO CLAIM NUMBER 3473 FILED BY HUNTER TODD

        This case came before the Court for a hearing on April 8, 2015, on the objection of the
City of Detroit to Claim No. 3473 filed by Hunter Todd (the “Claim Objection,” part of the
City’s “Tenth Omnibus Objections to Certain Claims,” Docket # 9262). At the conclusion of the
April 8, 2015 hearing, the Court took the Claim Objection under advisement. Today the Court
has filed a written opinion regarding the Claim Objection. For the reasons stated in the Court’s
written opinion,

       IT IS ORDERED that the Claim Objection — i.e., the City of Detroit’s objection to
Hunter Todd’s Claim No. 3473 — is sustained, and Claim No. 3473 is disallowed.


Signed on May 8, 2015                               /s/ Thomas J. Tucker
                                                    Thomas J. Tucker
                                                    United States Bankruptcy Judge




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